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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO

Civil Action No. 17-cv-01744-RBJ

RUBEN ARAGON, et al.,

      Plaintiffs,

v.

RICK RAEMISCH, et al.,

      Defendants.


                     JOINT NOTICE OF MEDIATION SESSION


      The Plaintiffs, through counsel, and Defendants, through the Colorado

Attorney General, hereby submit this Notice concerning the private mediation

session which the parties conducted on August 8, 2018, before the Hon. Boyd N.

Boland (ret.) at Judicial Arbiter Group, Inc.: During the mediation, the parties

reached agreement on settlement terms and executed a Settlement Term Sheet,

pursuant to which the settlement terms are to be reviewed by the Colorado State

Claims Board. Pending approval by that Board, the parties anticipate that they

will thereafter file a joint motion to request that this civil action be administratively

closed for the duration of the settlement terms and thereafter, pending final

completion of the settlement terms, this action would be finally dismissed. In light

of the foregoing, the parties jointly request that all pending deadlines for this

matter be stayed until their filing of the anticipated motion to administratively

close this matter.


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Respectfully submitted this 15th day of August, 2018.

                                           CYNTHIA H. COFFMAN
                                           Attorney General

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Christopher P. Beall                       s/Chris Alber
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                           CERTIFICATE OF SERVICE

      I hereby certify that on this 15th day of August, 2018, I electronically filed

the foregoing Joint Notice of Mediation Session with the Clerk of Court using the

CM/ECF system which will send notification of such filing to all counsel of record.



                                                s/ Christopher P. Beall




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